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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                      Case No. 3:20-cr-86-TJC-JBT

JORGE PEREZ, et al.


             GOVERNMENT’S STATUS REPORT REGARDING
            SUPPLEMENTAL REPORT OF DR. COREY WALLER

      Pursuant to the Court’s order of March 25, 2022 (Doc. 539), the Government

hereby provides this status report and notifies the Court and the defendants that the

Government intends to submit a supplemental expert report for its medical necessity

expert, Dr. Corey Waller, by April 15, 2022.

      As the Court and the defendants are aware, the government will be offering

the testimony of Dr. Waller because its original expert on this subject, Dr. Kelly

Clark, is unable to testify for medical reasons. See Doc. 524. Dr. Waller will submit a

short supplemental report that describes his methodology and outlines the opinions

he reached. The government expects that Dr. Waller’s report will describe how he

reviewed and analyzed the claims data that had been supplied to Dr. Clark before

even reading Dr. Clark’s report, and that on the basis of his training and experience,

he formed the same conclusion that there was a massive amount of excessive and

unnecessary testing performed and billed through the four hospitals at issue. A

general summary of Dr. Waller’s expected testimony is provided in Doc. 524, and

therefore the Government will not revisit it here.
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                                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE
      I, hereby certify that, on April 1, 2022, a true and correct copy of the foregoing

was filed and served on all counsel via the CM/ECF system.



                                               /s/ Gary A. Winters
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